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 From:             Lowell, Abbe
 To:               nickielumdavis
 Cc:               McCorriston William
 Subject:          ATTORNEY CLIENT PRIVILEGE
 Date:             Wednesday, August 26, 2020 10:00:00 AM


 To address my representation of others and the letter I received from the DOJ FARA unit in April (for
 some of that work), Keller suggested ridiculous language to be added to the plea agreement. I
 changed it and this is my version for you to review and we can discuss it and the issues:

 “The defendant understands that one of her attorneys, Abbe D. Lowell, has previously represented
 other individuals with whom Ms. Davis also has had contact or interactions and whose names have
 or might come up during her cooperation. Ms. Davis also understands that Mr. Lowell has been
 asked by the United States Department of Justice for information concerning his representation of
 certain clients on matters unrelated to Ms. Davis. Ms. Davis has discussed these issues and the
 resulting potential for conflicts of interest with Mr. Lowell and with third-party counsel and
 knowingly and intelligently waives any potential or actual conflict of interest as to Mr. Lowell and
 affirms that she wishes to proceed with Mr. Lowell as one of her attorneys in this matter.”




 Abbe David Lowell
 Partner
 Winston & Strawn LLP
 1901 L Street, N.W.
 Washington, DC 20036
 D: +1
 F: +1

 200 Park Avenue
 New York, NY 10166-4193
 D: +1
 F: +1
 VCard | Email | winston.com
